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 5                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 6                                  AT SEATTLE
 7   GARY HOGAN,
 8
                                Plaintiff,           CASE NO. C20-0089-RAJ-MAT
 9
            v.
10                                                   ORDER
     BMW OF NORTH AMERICA LLC,
11
                                Defendant.
12

13         The Court, having reviewed defendant’s Request for Judicial Notice (Dkt. 23) and
14   Motion to Dismiss (Dkt. 24), the Report and Recommendation of Mary Alice Theiler,

15   United States Magistrate Judge, and the remaining record, does hereby find and ORDER:
           (1)    The Court adopts the Report and Recommendation;
16
           (2)    Defendant’s Request for Judicial Notice (Dkt. 23) is GRANTED;
17
           (3)    Defendant’s Motion to Dismiss (Dkt. 24) is DENIED; and
18         (4)    The Clerk is directed to send copies of this Order to the parties and to the
19   Honorable Mary Alice Theiler.
           DATED this 23rd day of September, 2020.
20

21

22
                                                    A
                                                    The Honorable Richard A. Jones
23                                                  United States District Judge

     ORDER
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